     Case 1:17-cr-00065-DAD-BAM Document 38 Filed 08/04/17 Page 1 of 3


 1   ANTHONY P. CAPOZZI, CSBN: 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. SHAW AVE., SUITE 102
     FRESNO, CALIFORNIA 93711
 3   PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5
 6   ATTORNEY FOR Defendant,
     SAMUEL SANCHEZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                              ******

11   UNITED STATES OF AMERICA,                           Case No.: 1:17-CR-00065-DAD-BAM
12                  Plaintiff,                           STIPULATION AND ORDER TO
13          v.                                           CONTINUE ARRAIGNMENT AND
                                                         COMPETENCY HEARING
14
                                                         Date: August 7, 2017
15   SAMUEL SANCHEZ,                                     Time: 1:30 p.m.
                                                         Courtroom: 5
16                  Defendant.                           Hon. Dale A. Drozd
17   TO:    THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
            ATTORNEY:
18
19          Plaintiff, United States of America, by and through its counsel of record, and defendant,
20   by and through his counsel of record, hereby stipulate as follows:
21   1.     By previous order, this matter was set for an Arraignment and Competency Hearing on
22   August 7, 2017, at 1:30 p.m.
23          2.      By this stipulation, defendant now moves to continue the Arraignment and
24   Competency Hearing to September 25, 2017, at 1:30 p.m. and the exclude time between
25   August 7, 2017, and September 25, 2017, under 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A).
26   Plaintiff does not oppose this request.
27          3.      The parties agree and stipulate, and request that the Court find the following:
28                  a.      On or about June 20, 2017, additional time was requested by the Warden




                                                     1
     Case 1:17-cr-00065-DAD-BAM Document 38 Filed 08/04/17 Page 2 of 3


 1          at the Federal Bureau of Prisons Metropolitan Detention Center in Los Angeles to
 2          address a pending medical issue concerning the defendant and to complete the
 3          defendant’s evaluation. On or about August 3, 2017, the Warden indicated that the
 4          evaluation was complete, and would be working with the USMS to complete the
 5          process of releasing defendant from the facility and transferring him back to Fresno for
 6          further proceedings.
 7                 b.      Counsel for the defendant needs additional time to review the report,
 8          meet with the defendant, and prepare for the arraignment and competency hearing.
 9                 c.      The government does not object to the continuance.
10                 d.      Based on the above-stated findings, the ends of justice served by
11          continuing the case as requested outweigh the interest of the public and the defendant in
12          a trial within the original date prescribed by the Speedy Trial Act.
13                 e.      For the purpose of computing time under the Speedy Trial Act, 18
14          U.S.C. § 3161, et seq., within which trial must commence, the time period of August 7,
15          2017, to September 25, 2017, inclusive, is deemed excludable pursuant to 18 U.S.C. §§
16          3161(h)(1)(A), (h)(7)(A) because it results from a continuance granted by the Court at
17          defendant’s request on the basis of the Court's finding that the ends of justice outweigh
18          the best interest of the public and the defendant in a speedy trial, and because of delay
19          resulting from a mental competency evaluation.
20          4.     Nothing in this stipulation and order shall preclude a finding that other
21   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
22   period within which a trial must commence.
23                                                         Respectfully submitted,
24   DATED:      August 3, 2017                      By: /s/Jeffrey A. Spivak
25                                                       JEFFREY A. SPIVAK
                                                         Assistant United States Attorney
26
27
28




                                                     2
     Case 1:17-cr-00065-DAD-BAM Document 38 Filed 08/04/17 Page 3 of 3


 1
 2   DATED:      August 3, 2017                      By: /s/Anthony P. Capozzi
 3                                                       ANTHONY P. CAPOZZI
                                                         Attorney for Defendant SAMUEL
 4                                                       SANCHEZ

 5
 6                                               ORDER
 7          For reasons set forth above, the continuance requested by the parties is granted for good
 8   cause and time is excluded under the Speedy Trial Act from August 7, 2017 to September 25,
 9   2017, based upon the court’s finding that the delay results from a proceeding, specifically an
10   examination, to determine the mental competency of the defendant and because the defendant
11   requests a continuance and the court finds that the ends of justice outweigh the public’s and
12   defendant’s interest in a speedy trial. 18 U.S.C. §§ 3161(h)(1)(A), (h)(7)(A).
13          The arraignment and competency hearing as to Samuel Sanchez previously set for
14   August 7, 2017, is continued to September 25, 2017, at 1:30 p.m. in Courtroom 5 before
15   District judge Dale A. Drozd.
16
     IT IS SO ORDERED.
17
18      Dated:     August 4, 2017
                                                         UNITED STATES DISTRICT JUDGE
19
20
21
22
23
24
25
26
27
28




                                                     3
